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                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN DISTRICT OF INDIANA
                                          INDIANAPOLIS DIVISION

   ANDREW U.D. STRAW,                                 )
                                                      )
                                        Plaintiff,    )
                                                      )
                                vs.                   )      No. 1:16-cv-03483-JMS-TAB
                                                      )
   INDIANA SUPREME COURT,                             )
   BRENDA RODEHEFFER,                                 )
   G. MICHAEL WITTE,                                  )
   LORETTA H. RUSH CHIEF JUSTICE OF                   )
   INDIANA,                                           )
   JAMES ROBERT AHLER Hearing Officer,                )
   LILIA G. JUDSON,                                   )
                                                      )
                                        Defendants.   )

                    FINAL JUDGMENT PURSUANT TO FED. R. CIV. PRO. 58

        Pursuant to the Orders issued on this day and on January 23, 2017, all of Plaintiff’s claims

 against Defendants are DISMISSED. The Court now enters FINAL JUDGMENT in favor of

 Defendants and against Plaintiff pursuant to Federal Rule of Civil Procedure 58, such that Plaintiff

 shall take nothing by way of his Complaint.



             Date: February 16, 2017




       Laura A. Briggs, Clerk

       BY: ______________________________
             Deputy Clerk, U.S. District Court


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